Case 2:03-Cv-02980-.]PI\/|-tmp Document 54 Filed 07/12/05 Page 1 of 4 Page|D 7

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RoBERT E. BANKS, W;T,» GF ':i, §,»'YE-td-PHIS

Plaintiff,

v l
NO . 03 -2980 Ml/P
UNITED PARCEL SERVICE, INC . ,
and SUZANN'E REDMON'D'

~vVV`-¢`r\-dvvv

Defendants.

 

ORDER ADOPTING REPORT AND RECOMMENDATION AS AMENDED

 

Before the Court is Defendant Suzanne Redmond's Motion for
Rule ll Sanctions, filed February 23, 2005. Plaintiff responded
in opposition on March lO, 2005. This motion was referred to the
United States Magistrate Judge for report and recommendation.

The magistrate judge submitted his report and recommendation on
March 16, 2005, recommending that Defendant's motion be denied
without prejudice. Defendant filed objections to the report and
recommendation on March 25, 2005. Plaintiff neither filed
objections nor responded to Defendant's objections.

Upon de novo review of Defendant's submissions and the
magistrate judge's report, the Court ADOPTS the magistrate
judge's report and recommendation as amended.

Regarding Defendant's motion for sanctions, the Court agrees
With the conclusion in the report and recommendation that

Defendant’s motion for sanctions should be denied without

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Case 2:03-Cv-02980-.]PI\/|-tmp Document 54 Filed 07/12/05 Page 2 of 4 Page|D 71

prejudice, pending the resolution of Defendant's motion for
summary judgment. The Court, however, AMENDS the report and
recommendation to reflect that Defendant did in fact comply with
the safe harbor provision of Federal Rule of Civil Procedure
ll(c)(l)(A). Prior to filing a motion for sanctions with the
court, the moving party must first comply with the twenty-one day
safe harbor provision contained in Rule ll(c)(l)(A).l In the
instant case, Defendant stated in the certificate of service
attached to the Motion for Sanctions, that a copy of the motion
was mailed to Plaintiff’s counsel on December 30, 20042 - more
than twenty-one days before the motion was filed with the Court

On February 23, 2005.

 

1 Rule ll(c)(l)(A) specifically provides that:

A motion for sanctions under this rule shall be made
separately from other motions or requests and shall describe
the specific conduct alleged to violate subdivision (b). It
shall be served as provided in Rule 5, but shall not be
filed with or presented to the court unless, within 21 days
after service of the motion (or such other period as the
court may prescribe), the challenged paper, claim, defense,
contention, allegation, or denial is not withdrawn or
appropriately corrected. If warranted, the court may award
to the party prevailing on the motion the reasonable
expenses and attorney's fees incurred in presenting or
opposing the motion. Absent exceptional circumstances, a law
firm shall be held jointly responsible for violations
committed by its partners, associates, and employees.

Fed. R. Civ. P. ll(c)(l)(A).

2 On January 6, 2005, the Court issued an order granting the
motion to withdraw filed by Plaintiff‘s counsel.

2

Case 2:03-Cv-02980-.]PI\/|-tmp Document 54 Filed 07/12/05 Page 3 of 4 Page|D 72

For the foregoing reasons, the Court ADOPTS the March 16,

2005, report and recommendation of the magistrate judge as

amended.

IT IS SO ORDERED this i§: day of July, 2005.

MMWO.QF.

J P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

ESTNER 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:03-CV-02980 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

